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                                      Hon. Virginia M. Kendall
                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                           219 South Dearborn Street – Courtroom 2519
                                      CHICAGO, IL 60604


                              Virtual Hearing Request Form – Civil Cases

                Starting 12/05/22 ALL CIVIL HEARINGS WILL BE IN PERSON

Virtual hearings will be held on Fridays starting 12/09/22 but must be pre-approved by the Court. If
you need to appear virtually, send this completed form to Judge Kendall’s Courtroom Deputy at
Lynn_Kandziora@ilnd.uscourts.gov THREE days prior to the hearing. The Courtroom Deputy will
inform you as to whether your request has been approved by entering an order on the docket sheet
placing your case on the virtual hearing day. If your case has not been moved to the virtual hearing
day, you should assume that it is IN PERSON.

                          All virtual hearings will be held at 9:30 a.m. on Fridays.

Case Number:               __________________________

Case Name:                 __________________________

Requester Name(s):         __________________________

Representing:              __________________________

I request a virtual hearing due to:

           Illness (either my own or an immediate member of my family)

           Expense (it would be a hardship on my client to have me appear in person)

           Hardship (due to significant conflicts I am unable to appear in person)
           Please state the reason below.

           Travel (if I appear virtually, I will save my client from unwarranted expense)

My request is agreed to by the opposing party. ______ (Yes/No)


If needed, please provide further details about your request below.




                                                        _____________________          _________
                                                        Signature                      Date
